                 Case: 25-1578
               UNITED          Document:
                       STATES COURT  OF28   Page: 1FORDate
                                         APPEALS       THEFiled:
                                                           THIRD 04/15/2025
                                                                     CIRCUIT

                                CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
Atlas Data Privacy Corp., et al. v. Fortnoff Financial, LLC


APPEAL FROM DISTRICT COURT:
District: New Jersey
D.C. Docket No.: 1:24-cv-04390
Date proceedings initiated in D.C.: March 29, 2024
Date Notice of Appeal filed: March 28, 2025
USCA No.:25-1578 / 25-1555 (Consolidated)

                                           COUNSEL ON APPEAL
Appellant(s): Fortnoff Financial, LLC
Name of Counsel: J. Timothy McDonald
Name of Party(ies): Fortnoff Financial, LLC
Address:Two Alliance Center, 3560 Lenox Road NE, Suite 1600
Telephone No.: (404) 407-3623
Fax No.: (404) 291-2905
E-mail: Tim.McDonald@ThompsonHine.com

For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
Name of Counsel: Rajiv D. Parikh, Kathleen B. Einhorn, Jessica A. Merejo, PEM Law
Name of Party(ies):Atlas Data Privacy Corporation
Address: 1 Boland Drive, Suite 101, West Orange, NJ 07052
Telephone No.: 973-585-5330
Fax No.: 973-860-4433
E-mail:rparikh@pemlawfirm.com, keinhorn@pemlawfirm.com, jmerejo@pemlawfirm.com


Name of Counsel: David Boies, Mark Mao, Eric Palmer, Samantha Parrish, Adam Shaw, Boies Schiller Flexner
Name of Party(ies):Atlas Data Privacy Corporation
Address: 30 S Pearl Street, 12th Floor, Albany, NY 12207
Telephone No.: 914-749-8201
Fax No.: 415-293-6899
E-mail: dboies@bsfIlp.com, mmao@bsfllp.com, epalmer@bsfllp.com, sparrish@bsfllp.com, ashaw@bsfllp.com

Is this a Cross-Appeal?                                   Yes     No ✓
Appeals Docket No.:

Was there a previous appeal in case?                      Yes     No
If yes, Short Title:
Appeals Docket No.:
Citation, if reported: _
To your knowledge Case:   25-1578
                      is there       Document:
                               any case now pending28 orPage:
                                                           about2to beDate Filed:
                                                                       brought    04/15/2025
                                                                               before this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?         Yes ✓         No
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                  Yes ✓         No
If you answered yes to either "a" or "b" please provide:
Case Name:Atlas Data Privacy Corporation, et al v. We Inform, LLC
D.C. Docket No.: 1:24-cv-04037
Court or Agency: District of New Jersey
Docket Number: 25-1555 (Consolidated)
Citation, if reported:

                                          NATURE OF SUIT
                                        (Check as many as apply)

1. FEDERAL STATUTES                                          ASSAULT/DEFAMATION
   ANTITRUST                                                 PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                DIVERSITY
   BANKS & BANKING                                           OTHER Specify:
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                          3. CONTRACTS
   COMMODITIES                                               ADMIRALTY/MARITIME
   COMMUNICATIONS                                            ARBITRATION
   CONSUMER PROTECTION                                       COMMERCIAL
   COPYRIGHT                                                 EMPLOYMENT
   PATENT                                                    INSURANCE
   TRADEMARK                                                 NEGOTIABLE DISBURSEMENTS
   ELECTION                                                  OTHER Specify:
   ENERGY
   ENVIRONMENTAL                                          4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                               CIVIL RIGHTS
   IMMIGRATION                                               VACATE SENTENCE 2255
   LABOR                                                     HABEAS CORPUS 2254
   OSHA                                                      HABEAS CORPUS 2241
   SECURITIES                                                MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                           OTHER Specify:
   TAX
   EQUAL ACCESS TO JUSTICE                                5. OTHER
   OTHER Specify:                                             FORFEITURE
                                                              CIVIL GRAND JURY
2. TORTS                                                      TREATY Specify:
   ADMIRALTY                                               I/ OTHER Specify: Legality of New Jersey Law

This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
       day of                              , 20

Signature of Counsel:/s/ J. Timothy McDonald
